8:00-cr-00150-LES-TDT        Doc # 312      Filed: 08/03/07    Page 1 of 1 - Page ID # 284




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )              8:00CR150
              vs.                          )
                                           )                  ORDER
MICHAEL SWAIN,                             )
                                           )
                     Defendant.            )


       Defendant Michael Swain (Swain) appeared before the court on August 3, 2007, on
the Petition for Warrant or Summons for Offender Under Supervision (Report) (Filing No.
306). Swain was represented by Assistant Federal Public Defender David M. O’Neill and
the United States was represented by Assistant U.S. Attorney Maria R. Moran. Through
his counsel, Swain waived his right to a probable cause hearing on the Report pursuant to
Fed. R. Crim. P. 32.1(a)(1). I find that the Report alleges probable cause and that Swain
should be held to answer for a final dispositional hearing before Senior Judge Strom.
       The government did not move for detention. Swain was released upon conditions
as set forth in a separate order in this matter.
       IT IS ORDERED:
       A final dispositional hearing will be held before Senior Judge Lyle E. Strom in
Courtroom No. 5, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, at 10:00 a.m. on August 30, 2007. Defendant must be present in
person.
       DATED this 3rd day of August, 2007.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
